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                                        Paul J. Labov                  July 22, 2020                     212.561.7783
                                                                                                   plabov@pszjlaw.com




N E W Y O R K, N Y
L O S A N G E L E S, C A
C O S T A M E S A, C A
S A N F R A N C I S C O, C A            VIA ECF and EMAIL
W I L M I N G T O N, D E

780 THIRD AVENUE                         The Honorable James L. Garrity
34th FLOOR                               United States Bankruptcy Court
NEW YORK
NEW YORK 10017-2024
                                         Southern District of New York
                                         One Bowling Green
TELEPHONE: 212/561 7700
FACSIMILE: 212/561 7777
                                         New York, NY 10004

                                                   Re:    In re Orly Genger, Case No. 19-13895-jlg /
LOS ANGELES
10100 SANTA MONICA BLVD.
                                                          Adversary Proceeding No. 20-01010-jlg
13th FLOOR                                                Motion to Dismiss Amended Complaint
LOS ANGELES
CALIFORNIA 90067                        Dear Judge Garrity,
TELEPHONE: 310/277 6910

FACSIMILE: 310/201 0760                         This firm represents Dalia Genger (“Dalia”) in connection
                                        with the above referenced chapter 7 case and related adversary
COSTA MESA                              proceeding. In connection with the Trustee and various parties’
650 TOWNE CENTER DRIVE                  motions to dismiss Dalia’s amended complaint, and our opposition
SUITE 1500
                                        thereto, we would like to add to the record in this case the Debtor’s
COSTA MESA
CALIFORNIA 92626
                                        affidavit (the “Affidavit”) submitted in the action indexed at 14-cv-
TELEPHONE: 714/384 4750
                                        5683 (KBF) before Judge Forrest (“Genger I”). The Affidavit is
FACSIMILE: 714/384 4751
                                        found at Dkt. No. 35 on the Genger I docket.

SAN FRANCISCO
                                               Also, with Your Honor’s permission, we are requesting leave
150 CALIFORNIA STREET                   to submit a short explanation of the Affidavit’s relevance to the
15th FLOOR                              pending motions to dismiss and our opposition.
SAN FRANCISCO
CALIFORNIA 94111-4500
                                                   We thank the Court for its consideration.
TELEPHONE: 415/263 7000

FACSIMILE: 415/263 7010                                                  Respectfully submitted,

DELAWARE                                                                 /s/ Paul Labov
919 NORTH MARKET STREET
17th FLOOR
P.O. BOX 8705                                                            Paul J. Labov
WILMINGTON                                                               Pachulski Stang Ziehl & Jones LLP
DELAWARE 19899-8705

TELEPHONE: 302/652 4100                 PJL/lsc
FACSIMILE: 302/652 4400



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                        cc:     All counsel of record by ECF




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